~




        Appellate Case: 23-1197            Document: 010110898949                  Date Filed: 08/04/2023                Page: 1


                                                                                                         ·' ."'\ '   ~   '-, -~-
                                                                                                          ,,  ·'!        ' !.
,-,,      ■United States Court of Appeals for the Tenth Circuit
                                                                                                 llll3       -4 AM li: i ~
         Address:1823 Stout Street 1 Denver1 CO 80257
         Appellant:        David William Dacres Shaver
         Vs. Appellee( s): Whittier HOA [Whittier Place
         Condominiums Homeowners Association, Incorporated]+ A COURT USE ONLY
         'Pro Se'Partv/Not member of Colorado Bar:       Case Number:
         David William Dacres Shaver
         1750 30th St Suite A338, Boulder CO 80301              23-1197
         Phone: 303-351-4239 eMail:davidshaver@yahoo.com
                                                      APPEAL BRIEF
         TABLE OF CONTENTS                                                                                           PAGE
         TABLE OF AUTHORITIES .••.•.•••.••.•..•••••••..•••.•••..••••••••••••..••••...•.•.••••...•...•.•...•••..2
         JURISDICTIONAL STATEMENT •••••.•••••.•••••.•••••.•..••••••••••••••••••••••••••••••.••.•••••..• .3
         STATEMENT OF ISSUES PRESENTED FOR REVIEW ................................3
         STATEMENT OF THE CASE •.••..•.•••••.•••••.••.•.••••....••••••••••..•.•••...•.•••....•••••••.•.••.•..4
         SUMMARY OF THE ARGUMENT .•...•.•..•....•..••.•••.......••••.••...•.•••••.•.•••.••.•••..•••..5
           A. Dismissal of the Complaint ...........................................................................5
           B. Security of Submitted Evidence ...................................................................5
           C. Failure/Refusal of Defendants to Participate ..............................................5
/'"",      D. Failure to Consider Related Cases ...............................................................5
           E. Recusal of the Judge ......................................................................................6
~        ARGUMENT •••...••••.•.•..••.•.•.•.••..•..•••••••.••.•..•••.•••.••....••..••...•••.•.......••.•.••....•..•.•.•..•.••6
             I. Unjustified Dismissal of the Complaint .......................................................6
           II. Inadequate Protection of Submitted Evidence .........................................13
          III. Defendants' Non-Participation nor compliance w/Implied Contract .....14
          IV. Incorporation of Outstanding Issues from Interrelated Cases+ ••••••...•.•17


                                                                                                                     Page 1
        Appellate Case: 23-1197            Document: 010110898949                 Date Filed: 08/04/2023             Page: 2



           V. Bias or Lack of Impartiality in Judicial Proceedings / Recusal ..............20
         CONCLUDING TEXT ........................................................................................21

         PRAYER FOR RELIEF ......................................................................................22
         CERTIFICATE OF COMPLIANCE ................................................................ .2-S

         CERTIFICATE OF SERVICE ..........................................................................25

         MOTION TO SUPPLEMENT THE RECORD ................................................26

                                             TABLE OF AUTHORITIES

                                                            CASES
         Grable v. Darue, 545 U.S. 308 (2005) .•••••••.••.•••••••••••••••.•••••••••••••••••••••••••••••••••••••••7
         Gunn v. Minton, 568 U.S. 251 (2013) ••••••••••••••••••••••••••••••.••••••••••••••••••••.••••••••.••••••7

         Bell v. Hood, 327 U.S. 678 (1946) •••••••••••.••••.••••••••••.••••••••.••••••••••..••.••..••..•••.•.••••••• .8
         Monell v. Department of Social Services, 436 U.S. 658 (1978) .........................8

         Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970) .............................................. .8
         Erie R. Co. v. Tompkins, 304 U.S. 64 (1938) ••••••••••••••••..•••••••••..••.••••••••••••••••.•••••!>

         Swift v. Tyson:: 41 U.S. 1 (1842) ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••9
         Rio Properties, Inc. v. Rio International Interlink (2002) ...............................15

         FTC v. PCCare247 Inc. (2013) ••••••••••••••••••••••••••••••••••••••••••••••••••.••••••••••••••••..•••.•••16
         Berezovsky v. Abramovich (2012) ••••••••••••••••••••••••••••••••••••••.••••.••..•••••••.••.••.••••.•••16
         Mullane v. Cent. Hanover Bank & 'Irust Co (1950) .........................................16
         Markham v. Allen, 326 U.S. 490 (1946) •••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••18

                                                         STATUTES
         Judiciary Act of 1875 ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••.••••••••12
r,       Civil Rights Act, Title VI, 42 U.S.C. § 2000d et seq. (1964) ..........................5,27
         Section 35 of the Judiciary Act of 1789, 1 Stat. 73 ..........................................18
I"'"'
                                                                                                                   Page2
      Appellate Case: 23-1197        Document: 010110898949             Date Filed: 08/04/2023        Page: 3



                                         OTHER AUTHORITIES
       Federal Rules of Civil Procedure Rule 8(a)(l) ..................................................12

                                           CONSTITUTIONAL:
       4th, Sth, and 14th amendment violations ...........................................................10

                                  JURISDICTIONAL STATEMENT
          A Primary goal of this appeal is to contest the lower court's 'Subject Matter

       Jurisdiction' findings; as such, defenses thereof are intended to be presented herein
       (reference: contents of 'Argument I'). A 'Notice of Appeal' was filed 6/7, within

       time limits from the final judgement of 3/9. Statutory basis: 28 U .S.C. § 1291, and
       1294 indicate that this Court has jurisdiction over its decisions. This Appeal is from

       a 'Final Order' or Judgement which indicates it disposes of all parties claims.
                    STATEMENT OF ISSUES PRESENTED FOR REVIEW
          Appellant presents 5 primacy issues, each w/contributing subfactors to ronsider:

          I. Did the District Court err in Dismissing Am,ellant's Complaint, Claimed
       as ~Being Due to Lack of Subject Matter Jurisdiction?
           A. Did the court misapply jurisdictional requirements?

           B. Did the court overlook other sources of subject matter jurisdiction?
         II. Did the Judge Provide Submitted Evidence With Sufficient Security?
         A. Did the court adequately address the protection of evidence?
         B. Were implications of not suppressing or sealing certain evidence considered?

        III. Were Defendants Mistaken to Refuse to Answer or Participate?
         A. Did the court properly address the issue of Defendants' noncompliance?

/--      B. Were the alternative methods of service used properly considered?
        IV. Were Outstanding Issues From Interrelated Cases Incorporated, and

                                                                                                    Page3
    Appellate Case: 23-1197   Document: 010110898949       Date Filed: 08/04/2023    Page: 4



     Were there any Inconsistent Judicial Approaches?

       A. Did the court evaluate implications of related cases on the current matter?

       B. Were Outstanding Issues Considerated for a Comprehensive Adjudication?

       V. Should the Assigned Judge have Recused Herself?
       A. Did the Court evaluate all potential biases & their impact on proceedings?
       B. Were Appellant's concerns regarding Judicial impartiality fully considered?

         [Citation Convention: Appellant uses 'M>oc' to refer to District Court
       Documents #'s, also reflected in the ROA, to the extent transmitted so far]
                                   Statement of the Case
        The theory of the case centers on what Appellant considers the unjustified dis-

     missal of the complaint by the District Court Judge on jurisdictional grounds
     [.!\Doc 16#P2jj2, .!\Doc 24, L\Doc 31:4, .!\Doc 31:12, etc], whichAppellant has

     contended was contrary to established precedents, such as those affirming federal
     court jurisdiction over expressed claims of federal rights violations (Reference:

     [.!\Doc 1,Attachment l(VI)]). The dismissal has effectively led to predicted denial
     of due process [L\Doc 31:2] and since the lower court's dismissal, has resulted in

     significant property loss. Additionally, Appellant had raised concerns about the
     handling of sensitive documents [LiDoc 32:B] after his supplied motion [.!\Doc 2]

     wasn't passed (and documents were left insufficiently protected [LiDoc 3,4,5,6,7],
     or apparently not protected at all [LiDoc 32: Attachment 2,3]), and the adequacy of

     the supplied summons [.!\Doc 24:Vl(a)] contributing to Defendant's noncompli-
     ance with electronic service precedents, or what was effectively an implied con-
-    tract to participate [Exhibit_L, eMail of 3/22/23], and the Judge's apparent unwill-
     ingness to compel them to do so, further raising concerns about the integrity of

                                                                                    Page4
     Appellate Case: 23-1197    Document: 010110898949       Date Filed: 08/04/2023    Page: 5



      the proceedings. Moreover,Appellant pointed out the insufficiency of attention
      that had been supplied to related contributory cases in Boulder Metro

      [C#:G176765], Jefferson County [Case#21C415+], and Denver Probate
      [Case#2021PR30635] despite requests, the further pursuit of some of which had

      been interrupted by the fire. Despite Appellant's advance requests to cure the gen-
      der bias shown by all prior Judges in contributory cases which were heard having

      been female [~oc 24:VIl(b)], and later even demonstrations that these requests
      were in line with the Civil Rights Act [.L\Doc 32:D(4)], the Judge refused to

      acknowledge any bias or otherwise recuse.
                                  Summary of the Argument
      A. Dismissal of the Complaint:
f~

         Appellant believes that the District Court Judge's dismissal on jurisdictional
      grounds was erroneous and went against established precedents, resulting in an
      effective denial of due process, as well as significant property loss.

      B. Security of Submitted Evidence:
         Appellant raises concerns about the handling of sensitive documents and the

      adequacy of the supplied summons, which may have implications for the preser-
      vation of submitted evidence and adherence to established procedures.

      C. Failure/Refusal of Defendants to Participate:
         Appellant emphasizes the Defendant's lack of participation and noncompliance

.~    with the provided notice and an implied contract, as evidenced by their failure to
      respond and provide information despite clear communication.

      D. Failure to Consider Related Cases:
         Appellant points out the insufficiency of attention that's been supplied to relat-

                                                                                      Page5
Appellate Case: 23-1197    Document: 010110898949        Date Filed: 08/04/2023    Page: 6



 ed contributory cases in Boulder Metro, Jefferson County, and Denver Probate,
 despite requests, the pursuit of some of which were interrupted by the fire.

 E. Recusal of the Judge

    Appellant raises concerns about the District Court Judge's refusal to recuse

 despite Appellant's advance request and the presence of obvious gender bias and
 other inferable biases. Impartiality is essential to uphold the integrity of the judi-

 cial proceedings and ensure a fair trial.
 In Conclusion of the 'Statement of the Case' and 'Summary of the Argument':

    The theory of the case centers on the unjustified dismissal on claimed jurisdic-
 tional grounds and the subsequent denial of due process and property loss.

 Appellant intends to present a coherent perspective supported by various points
 that highlight potential flaws in the lower court's handling of the case. Overall,

 this appeal seeks to cover the majority of appealable points raised in [L\Doc
 32(D)], the others appearing inferrable hereby. The appeal seeks a just resolution

 and requests the Appellate Court's thorough reevaluation of the District Court case
 filings and associated cases. Appellant believes that the District Court's dismissal

 of his complaint and the subsequent actions of the Defendant and the City have
 resulted in a denial of due process and significant property loss. The appeal aims

 to have the Appellate Court review all arguments+ the case 'de-novo' ®.
                                       Argument
 I) Dismissal of the Complaint {Primarily on .Jurisdictional Grounds}: ®

    A. Did the court misapply jurisdictional reguirements?

       Appellant's cause of action, shown in the 'Civil Cover Sheet,' clearly states
 'violations of 42 U.S.C. 1983' [L\Doc 1,Al(VI)], a federal statute that provides

                                                                                  Page6
         Appellate Case: 23-1197    Document: 010110898949       Date Filed: 08/04/2023    Page: 7



          recourse for deprivation of constitutional rights under color of state law. Despite
          this, the Lower Court Judge claimed that she could not find Appellant's cause of

          action [L\.Doc 16#P2'1'12], and gave no indication of having examined pertinent
          related casework (such as public domain police body camera footage or filings in

          Boulder Municipal which both referenced constitutional amendment violations
          and/or related supreme court precedent) as requested either, which further clearly

          evidenced 'dispute' under {Grable/Gunn}. Before the entirety of Appellant's origi-
          nal filings had even been made available, the Judge also requested [L\.Doc 16]

          Appellant to spend three weeks researching a document showing sources of juris-
          diction [ADoc 24]. Appellant theorises that the District Court Judge may have

          insufficiently evaluated, and erroneously dismissed the complaint on jurisdictional
          grounds, contrary to established precedents, including those affirming federal

          court jurisdiction over claims of federal rights violation.
             The District Court Judge's objections against Appellant's filings generally

          appear unfounded, refuted by subsequent filings, supplied precedents, multiple
          independent analyses, inference, and the ongoing actions of the Defendant and the

          City. These actions have further led to the destruction of Appellant's properties
          since the District Court Case dismissal. The Judge's requests appear to have
,-.,,~


          turned out to be demonstrably logically unreasonable, and the failure to offer any
          reasonable alternatives in her responses, coupled with the Defendant's subsequent

r.        actions, equates to an overall denial of due process [ADoc 31:2], infringing upon
          the rights Appellant is supposed to have under the U.S. Constitution. Moreover, it

          also effectively resulted in a failure to 'provide an opportunity for a pre-seizure
r'°"'
          hearing for property', supposedly guaranteed by U.S. Supreme Court precedent

                                                                                          Page?
     Appellate Case: 23-1197    Document: 010110898949        Date Filed: 08/04/2023    Page: 8



      [ADoc 31:12].
         The District Court, despite Appellant's jurisdictional stance being grounded in

      established precedent and supported by multiple analyses (as most clearly out-
      lined in Appellant's [ADoc 25+Doc 32(A)]), issued multiple orders challenging

      this position. The presiding Judge dismissed Appellant's complaint, primarily cit-
:'    ing jurisdictional concerns. This dismissal also contradicts the precedent set by

      {Bell v. Hood, 327 U.S. 678 (1946)}, which asserts that federal courts have juris-
      diction over claims alleging violation of federal rights, irrespective of whether a

      well-pied complaint is presented. The Judge further expressed apparent confusion
      over the police involvement, or the Defendant's collusion with them [..6.Doc

      1:6(F)&(D), Exhibit_L(email of 11/10/21:'XN398983')] qualifying as acting under
      'color of state law.'[ADoc 27:p9,Il(C)]. However, as highlighted in Appellant's

      Brief [ADoc 31(4)*], this should be clear given that 18 U.S.C. 242 'deprivation of
      rights' typically establishes such a condition. Moreover, one of the precedents

      cited therein, {Monell v. Department of Social Services, 436 U.S. 658 (1978)}*,
      explicitly states that local governments can be sued under Section 1983 for mone-

      tary, declaratory, and injunctive relief when their officials violate federal law, and
      {Adickes v. S.H. Kress & Co., 398 U.S. 144 {1970)} indicates that private parties

      can be held liable for their collusion therein. Due to that Court's failure to support
      enjoining destruction of the property [ADoc 1:E,.6.Doc 10,ADoc 31:6,'APPLICA-

      TION',etc], the absence of due process and a preliminary injunction clearly have
      jeopardised Appellant's rights, resulting in property damage.

         The Judge also seemed to take issue with Colorado's JDF 116 form, which
      combines an affidavit with a legal complaint for the recovery of replevin posses-

                                                                                       Page 8
Appellate Case: 23-1197    Document: 010110898949       Date Filed: 08/04/2023     Page: 9



sions. This is suggested by the Judge issuing an 'Order to Show Cause' directed at

Appellant, rather than the requested 'Order to Show Cause' listed as the initial

 request on the Colorado standard complaint. However, according to the Erie

Doctrine 1 (established in {Erie R. Co. v. Tompkins}), state legal procedures

 should be applied when aspects of a case potentially involve Defendants from

other states or countries and require resolution at the time of filing in Colorado.

Therefore, the Judge should not have objected to the use of Colorado's standard

resolution for replevin actions as expressed in JDF 116. If the Erie Doctrine does

 not apply, then the fallback evaluation should apparently be conducted via {Swift

 v. Tyson}, which suggests that if state law, as developed by Colorado's

Legislature, is inadequate to evaluate the case, Federal common law should be

 invoked, again indicating Federal jurisdiction to be appropriate. Rather than

 apply 'Artful pleading' doctrine logically herself, she seemed to be insisting that

the case should instead be required to be brought in a Colorado State Court

 instead, where it would be required to be evaluated in that manner, then sent back

 to Federal Court.

    From Appellant's perspective, the vast majority of the District Court Judge's

jurisdictional objections against his filings appear to be unfounded or illogical

 under the circumstances and arguably further refuted by subsequent filings, sup-

 plied precedents, and the ongoing actions of the Defendant and the City, which,

 even after Appellant's clear declarations that he was going to appeal, have result-

 ed in the destruction of Appellant's properties. The Judge's failure to offer reason-

 1For Reference "A Critical Guide to Erie Railroad Co. v. Tompkins",
 William & Mary Law Review, pp921-986 Volume 54, February 2013


                                                                                 Page9
    Appellate Case: 23-1197    Document: 010110898949       Date Filed: 08/04/2023     Page: 10



     able alternatives in her responses, combined with the Defendant's subsequent

     actions, amounted to a denial of due process, again infringing upon Appellant's

     rights which are supposed to be guaranteed by the U.S. Constitution. These denial
     led to the destruction of Appellant's property, resulting in potential direct damages

     exceeding seven figures [Calculable by the stock quantities and prices displayed
     in Exhibit J and Exhibit K alone, notwithstanding confidential evidence yet to be

     filed due to the failure to pass Appellant's 'Motion for Suppressing or Sealing'
     [~Doc 2]. The one jurisdictional objection that Appellant and his advisors think

     has the most support is her representation that Defendant would have to explicitly
     invoke the 'Declaratory Judgment Act' [L\Doc 27:pl0(F)], whichAppellant intends

     to do here as part of the preferred relief.
     B. Did the court overlook other sources of subject matter jurisdiction?

        Appellant contends that the Judge's arguments exhibit numerous inaccuracies
     and contradictions, raising questions about that Court's interpretation and its

     potential lack of support for the U.S. Judicial system. Appellant recommends a
     review of his earlier response to the Federal Jurisdiction [IDoc 24] at this point,

-    which should provide further jurisdictional grounds which independent analyses
     indicated should have been more than sufficient. Further the analyses of 4th, 5th,

     and 14th amendment violations in [IDoc 31].
        Amongst the most glaring of the apparent errors in her analyses:

         (a) The Judge's incorrect claim that Appellant's arguments in jurisdictional
     defense were 'exhaustive' [IDoc 27:p13], when there are multiple arguments that

     were intentionally left out due to lesser applicability, or obvious inferrability (For
     an example, obvious implications of the 'Colorado River Doctrine' {Colorado

                                                                                     Page 10
       Appellate Case: 23-1197   Document: 010110898949        Date Filed: 08/04/2023    Page: 11



        River Water Conservation Dist. v. United States, 424 U.S. 800,817 {1976)} which

        would appear to preclude separate simultaneous state and federal pursuits of these

        matters).

           (b) In further evidence that she apparently did not do a very thorough job of

        analysis of or even reading Appellant's filings, in her order of 4.12, the Judge

        refers to the Amended motion [L\Doc 19:Motion GAMMA] filed on 3/15 as 'the

,-      "Motion for Joinder"', when this was actually an emendation of only 1 of 4 of the
,.._    motions originally filed. She goes on to claim [L\Doc 27:p5] that I do not mention

        any of the "Sherman Act, the Clayton Act, the Defend Trade Secrets Act (DTSA),

        and the Digital Millennium Copyright Act (DMCA)", when they were clearly

        mentioned in the memoranda of [M>oc 12:Motion ALPHA]. Apparently she

        never even read some of Appellant's case filings before issuing her original Order.

           (c) She then goes on to demand that Appellant add Defendants to the case for

        damages that hadn't even occurred yet [.6.Doc 27:p5,p14], though only appearing

        to acknowledge the minority of Defendants on the one amended motion, when by

        clear provided precedent, in line with the concept of 'joint and several liability',

        the named Defendant reportedly can be held accountable, and should be allowed

        to join further Defendants themselves if necessary to distribute liability [.6.Doc

        31:4]. This appears to Appellant to be further inconsistent, contradictory, and not

        in line with established legal principles : even potentially amounting to an e:ffec-

,~.     tive abdication of judicial responsibility, given that Appellant had provided

        Permissive Joinders for many conceivably necessary defendants at her discretion.

            (d) Further, she even claims that 'Plaintiff has not alleged Defendant's principal
        place of business or state of incorporation', and yet this is clearly shown in [Woe

                                                                                        Page 11
    Appellate Case: 23-1197     Document: 010110898949     Date Filed: 08/04/2023      Page: 12



     20]. She goes on to complain that he also hadn't identified their members, when
     Defendant's obstructions in providing information were already reported.

     Appellant's 'Entry of Appearance' to this case lists what is provided on the

     'BoulderHOA' web site (and [Exhibit L], which she was provided, contains emails

     to them also). Appellant further believes that Court Rules should allow for Judges
     to proactively examine such official state public records themselves.

        (e) Finally, she remarks upon Appellant's self representation in the case with-
     out noting that this was originally the requirement in Replevin actions (despite

     having been explicitly referred to the researched origins of that in Appellant's

-    jurisdictional defense).

        As Appellant has observed [AExhibit_L:ChatLogs:Phonelmg:Img_0067],
     property owners have a distinctly different risk/reward ratio for the recovery of

     their own property than official responders. Appellant believes that, contrary to
     the Judge's opinion that this case doesn't present an important enough question,

     this hilights the importance of deciding this case in ways potentially beneficially
     affecting numerous similar cases (whichAppellant feels should include such as

     the recently reported incidents affecting 'Robb Elementary', where parents weren't
     allowed to gauge the risk/reward for themselves in exercising their rights in

     defending their own children).
        In her 21 pages of initial 'Orders' questioning Jurisdiction [ADoc 16, ADoc 27],

     largely in an apparent attempt to define what FRCP's definition in Rule 8{a){l} "a
     short and plain statement of the grounds for the court's jurisdiction" actually

     means, the Judge also somehow failed to cite actual law underpinning the 'well-
     pleaded complaint rule,' and in the process appears to have disregarded

                                                                                    Page 12
     Appellate Case: 23-1197    Document: 010110898949       Date Filed: 08/04/2023    Page: 13



      Congressional intent in the reputed origins: 'The Judiciary Act of 1875' (instead

      referencing precedents which do not seem to bear significant relevance or resem-

      blance to the current case).

          In conclusion, the dismissal of the complaint was primarily based on jurisdic-

      tional grounds, which dismissal Appellant believes was unfounded.

      II) Ensuring the Integrity of Submitted Evidence: ®
          A. Did the court adequately address the protection of evidence?
          The handling and protection of submitted evidence in this case have raised sig-

      nificant concerns. The District Court's Judge expressed dissatisfaction due to the
·-    absence of certain evidence that Appellant was unable to submit because the

      Judge did not approve a motion to suppress or seal. This situation underscores a
      lapse in the management and safeguarding of critical evidence.

          Moreover, it appears that the Judge left the evidence that Appellant had already
      provided unprotected, thereby creating potential vulnerabilities. This situation

      casts doubt on the integrity and safeguarding of the evidence, which should gener-
      ally be managed with the highest level of care and security.

          When Appellant later supplied certain exhibits in heavily redacted form, they
      weren't even given the limited security that original filings had been given,

      despite having been marked as intended to be sealed or suppressed.
          It is worth noting that Appellant's motion for the suppression or sealing of evi-

      dence was modelled after filings in other federal courts that encountered no diffi-
      culties in their passage [Case#4:22-cv-01110, Doc 67], which demonstrates its

       reasonableness. This fact indicates that similar requests for the protection of evi-
       dence have been accepted in other jurisdictions, thereby emphasising the impor-

                                                                                      Page 13
Appellate Case: 23-1197    Document: 010110898949          Date Filed: 08/04/2023    Page: 14



 tance and reasonableness of Appellant's motion in this case.

     B. Were implications of not suppressing or sealing evidence considered?

     The Judge's refusal to pass Appellant's motion appears contrary to the obvious
 importance of maintaining the security and integrity of evidence in ensuring a fair

 and just legal process. Specific evidence that was left exposed included Exhibit J
 (in obvious violation of its confidentiality agreement), plus legal communications

 considered 'Attorney Client Privilege', and later filings clearly marked intended
 sealed or suppressed. The judge indicated that she could "raise the question of

 whether there is subject matter jurisdiction 'at any stage in the litigation.'" ~at her
 discretion [L\Doc 16p3(1)], which should have allowed her to consider the security

 motions first, and yet she chose to do so before providing the requested protec-
 tions for either the filings or the property. To ensure a fair and equitable resolu-

 tion of this matter, it is crucial, from Appellant's perspective, that this Court con-
 duct a thorough assessment of the security measures employed in handling the

  submitted evidence. This Court should also consider the potential consequences of
  any mishandling or exposure of evidence, as this could undermine the integrity of

 the proceedings and compromise Appellant's ability to present a robust case.
     In conclusion, from Appellant's perspective, the handling of the submitted evi-

  dence in this case has raised significant concerns that should to be addressed to
  ensure a fair and equitable resolution of this matter.

  III) Defendants' Non-Participation Despite Notice & Implied Contract to
  Respond:®
     A. Did the court properly address the issue of Defendants' noncompliance?
     The issue of non-participation by the defendants, despite being served notice

                                                                                    Page 14
     Appellate Case: 23-1197   Document: 010110898949       Date Filed: 08/04/2023    Page: 15



      and emailing back an effective implied contract to respond, is a significant con-

      cern in this case. The Defendant(s) were served notice via email; Reference:

      [Exhibit_L,eMail of 3/22/23, 2:34 PM : sleff@wlpplaw.com] wherein she
      responded "The Association does not intend to sign off on a waiver of service

      unless and until the documents are completed and presented in the manner provid-
      ed under the court rules" and/or Linkedln, and a pre-emptive 'Notice of Claim'

      was further even provided for the City [See Also Exhibit L: Corvel Response].
-     Despite these efforts, the defendants failed to answer or engage in the proceed-

      ings, the Judge did not encourage their participation, and the City proceeded to
      approve demolition.

         B. Were the alternative methods of service used properly considered?
         Although Appellant's original notice to Defendants provided them with several

      precedents indicating that electronic service of process should be sufficient [M>oc
      25][Referencing J effco Case#2 l C417, Memorandum of 6.3.2021], and yet after

      the response implying they would waive above, did not respond to either electron-
      ic or USPS mailed deliveries of such (or a even a later query of 4/8 as to whether
      they thought that documents had been "completed and presented" properly, which
      can be supplied upon request), in this context of electronic service and potential

--    evasion by defendants, these additional cases also appear most pertinent:
             a) Rio Properties, Inc. v. Rio International Interlink (2002): The 9th Circuit

          Court of Appeals permitted service of process via email when the defendant,
          an internet company, intentionally concealed its physical location, making tra-

          ditional service methods impracticable. The court ruled that under these cir-
          cumstances, email service was reasonably calculated to notify the defendant of

                                                                                     Page 15
Appellate Case: 23-1197    Document: 010110898949        Date Filed: 08/04/2023    Page: 16



    the proceedings.

        b) FfC v. PCCare247 Inc. (2013): The Southern District of New York

    allowed service of process via email and Facebook. The court found that the
    defendants, based in India, actively avoided traditional service methods.

    Therefore, service via email and Facebook was deemed reasonably calculated
    to notify them.

        c) Berezovsky v.Abramovich (2012): An English court permitted service of
    process via a private message on a social media platform, finding that this

    method was likely to bring the proceedings to the defendant's attention.
        d) As also quoted in the case filing referenced in [L\.Doc 25][Referencing

    Jeffco Case#21C417, Memorandum of 6.3.2021], notice was in accordance

    with the precedent set by {Mullane v. Cent. Hanover Bank & Trust Co., 339

    U.S. 306,314 {1950)}, being "reasonably calculated, under all the circum-
    stances, to apprise interested parties of the pendency of the action and afford

    them an opportunity to present their objections [and] reasonably structured to
     assure that the [entity] to whom it is directed receives it".

    These cases suggest that when traditional service methods are impracticable,
 especially when a defendant actively avoids service, courts should be open to

 alternative service methods, including electronic ones.
     Rather than indicating that she made a good faith attempt to review the elec-

 tronic service precedents [L\.Doc 25][Referencing Jeffco Case#21C417,
 Memorandum of 6.3.2021], or providing any evaluation thereby, or encourage

 Defendants' appearance, the District Court Judge claimed "it is not clear that the
  Defendant has been properly served or has waived service at this juncture" [L\.Doc

                                                                                  Page 16
        Appellate Case: 23-1197   Document: 010110898949       Date Filed: 08/04/2023     Page: 17



         27:p9]

            Conclusion: In light of the Defendants' continued noncompliance and their

         avoidance of traditional service methods, we respectfully request that this
         Honorable Appellate Court should carefully consider the Defendants' non-partici-

         pation, Appellant's earnest attempts to provide notice, and the potential need for
         default judgment as part of the relief sought in this appeal. The pursuit of justice

         and the protection of constitutional rights demand that the court take appropriate
.,_,.    action to address the Defendants' failure to participate in these proceedings.

         IV) Incorporation of Outstanding Issues from Interrelated Cases and
         Addressing Inconsistent .Judicial A.m>roaches ®
            A. Did the court evaluate implications of related cases on the current matter?
            The District Court's failure to consider related cases and its inconsistent

         approach to jurisdictional matters is a significant concern in this appeal.
         Specifically, the condominium at 2301 Pearl #39, previously owned by

         Appellant's late father, Marvin D. Shaver, became a focal point of contention.
         Upon his passing in November 2021, the property was integrated into a trust, with

         Appellant designated as a beneficiary.
           B. Were Outstandin1: Issues Considered for a Comprehensive Adjudication?

             Complications arose posthumously, leading Appellant to attempt to consolidate
         the family residence into his trust share. However, disputes and legal entangle-

         ments involving multiple jurisdictions, including Jefferson County and Denver
         Probate, further complicated matters. Notably, Appellant faced challenges such as:

             a) The requirement to appeal a JeffCo County case to Jeffco District, which
          was then dismissed on the grounds thatAppellant was representing his own whol-

                                                                                        Page 17
Appellate Case: 23-1197    Document: 010110898949       Date Filed: 08/04/2023    Page: 18



 ly-owned company* in a higher court, even though he had not chosen to bring it

 there, and the lower court's dismissal on similar 'subject matter jurisdiction' claims

 was highly questionable.

     b) A stark contrast, even contradiction, between Jeffco District's refusal to

 allow Appellant's representation of his company and the Probate Court's de facto
 assertion of jurisdiction over his company's assets, without even joining his com-

 pany in the Probate case.
     c) A forced order to relocate personal property from a secure storage facility to

 a less secure condominium in Boulder.
     d) The interference by the fire at Whittier Condominiums with Appellant's

 intentions to appeal those cases (or refile in Federal court), which somehow
 occurred on the 19th of the month (which the original and subsequent numerous

 JeffCo and DNPC filing dates had been aligned with), ultimately destroying said
 property. In his final filing in his Jeffco District appeal (which was not heard) case

 #21CV137 (9/21/2021),Appellant provided the case precedent {MARKHAM v.
 ALLEN 326 U.S. 490 (1946)} (which had also been posted on the storage unit

 door), which supports federal jurisdiction in such cases which may not necessarily
  "assume general jurisdiction of the probate or control of the property.".

     *Further, Section 35 of the Judiciary Act of 1789 also clearly states that parties
  may manage their causes personally or with counsel's assistance. Appellant

  believes that the refusal to ultimately allow corporate self-representation in the

 *An analysis titled "The Corporate Pro Se Litigant" by Suneal Bedi of Indiana
 University is available, whose arguments in favor of corporate self-representation
 Appellant finds compelling:
 https://papers.ssm.com/sol3/papers.cfm?abstract_id=3550886

                                                                                 Page 18
    Appellate Case: 23-1197   Document: 010110898949        Date Filed: 08/04/2023    Page: 19



     JeffCo case is unfair, given the compelling arguments put forth by legal scholars

     and the principles of self-representation embedded in the law.
               ,l/

        Appellant, therefore, respectfully requests this Court's assistance to provide for

     the effective incorporation of the appeal of outstanding issues from the Jefferson

     County (JeffCo) and Denver Probate cases, which were unfortunately interrupted
     by the fire at the Whittier Place Condominium complex. These related cases are

     intrinsically connected to the present appeal and share common factual and legal
     issues. Incorporating the unresolved matters from these cases will enable a com-

     prehensive and efficient adjudication of all relevant claims and ensure a just and
     complete resolution.

        The interruption caused by the fire and subsequent events severely impacted
     the progress of the Jeffco and Denver Probate cases, malting it impractical to pur-

     sue them separately. Combining the unresolved issues from these cases with the
     present appeal will promote judicial economy and avoid unnecessary duplication

     of efforts. It will also prevent the risk of inconsistent outcomes and ensure that all
     related claims are adjudicated in a cohesive manner.

        Moreover, allowing the incorporation of outstanding issues (via supplied
     Causes on the supplied FRCP 20 Joinder motions) from the Jeffco and Denver

     Probate cases aligns with the interests of justice and fairness. Such would enable
     the Court to consider the entire context of Appellant's legal disputes and provide a

-    comprehensive resolution that takes into account the cumulative impact of all rel-
     evant events.

        Incorporating the unresolved matters from these related cases into the present
     appeal is essential for a complete and thorough adjudication of Appellant's claims.

                                                                                     Page 19
     Appellate Case: 23-1197    Document: 010110898949        Date Filed: 08/04/2023     Page: 20



      Appellant believes that such incorporation would facilitate a just and efficient res-
      olution and respectfully requests this Court's approval to proceed accordingly.

         In conclusion, the oversight of related cases and the inconsistent judicial
      approach have significantly impacted Appellant's pursuit of justice. It is impera-

      tive for the appellate court to consider these inconsistencies and their implications
      for the case's fair adjudication. The incorporation of outstanding issues from the

      Jefferson County and Denver Probate cases is vital to ensure a comprehensive and
      just resolution of all relevant claims.

      V) Bias or Lack of Impartiality in .Judicial Proceedings / Recusal: ®
      A. Evaluation of Potential Biases and Their Impact on Proceedings:

      Appellant hereby supplies an Affidavit for Recusal outlining multiple sources of
      potential bias, some of which Appellant provided notice of up front before

      Judicial assignment, and further that he believes are reasonably inferable from the
      public record of Judge Nina Y. Wang.

      B. Consideration of Appellant's Concerns Regarding Judicial Impartiality:
         In conclusion, Appellant emphasises the importance of a fair and unbiased

      judicial process in this case. It is essential that all potential biases, whether gen-
      der-related or arising from other aspects of Judge Wang's background, be fully

      evaluated to ensure an impartial hearing, and believes that the information pre-
      sented in the Affidavit for Recusal (p27) and the additional details in both sections

r     underscore the need for a fair and impartial judicial process. To uphold the
      integrity of these proceedings, he recommends the recusal of Judge Nina Y. Wang

~.    from this case.



                                                                                       Page 20
Appellate Case: 23-1197    Document: 010110898949           Date Filed: 08/04/2023    Page: 21



                                    Concluding Text
    This appeal arose from a complex of legal disputes surrounding a fire at the

 Whittier Place Condominium complex in Boulder, Colorado, and its aftermath.

 Appellant sought to rectify any errors and oversights made in the District Court,

 which may have resulted in the dismissal of the case.
    Section I of the appeal focuses on the jurisdictional issue. Appellant contended

 that the District Court Judge erroneously dismissed the complaint on jurisdictional
 grounds, despite established precedents including affirming federal court jurisdic-

 tion over claims of federal rights violation. Appellant maintained that the case
 involves significant federal issues that should warrant federal court adjudication.

    Section II addressed the integrity of the supported evidence and Appellant's
 motion to suppress/seal sensitive documents. Appellant contended that the District

 Court Judge failed to properly consider the motion, despite successful precedent
 in federal courts for similar motions. The proper handling of sensitive documents

 is essential for a fair and just resolution of the case.
     Section III highlighted Defendants' non-participation despite proper notice,

 raising concerns about the fair adjudication of the case. Appellant diligently pur-
 sued electronic service of process, citing relevant case law supporting such meth-

 ods when traditional service is impracticable or when defendants actively avoid

 service.

     Section IV addressed the District Court's failure to consider related cases and
 its inconsistent approach to jurisdictional matters. The integration of outstanding

 issues from the Jefferson County and Denver Probate cases, interrupted by the
 fire, is essential for a comprehensive and efficient adjudication of all relevant

                                                                                     Page 21
Appellate Case: 23-1197   Document: 010110898949        Date Filed: 08/04/2023    Page: 22



 claims.

    In Section V, Appellant raised concerns about the District Court Judge's impar-

 tiality and requested the Court's recusal if deemed appropriate.
    In conclusion, Appellant seeks a just resolution that upholds constitutional

 rights, ensures the integrity of evidence, and protects sensitive documents. The

 Appellate Court's careful review and consideration of the arguments and authori-

 ties cited will promote the principles of justice, fairness, and the protection of
 individual rights under the Constitution. By addressing the jurisdictional issue, the

 Defendants' non-participation, the integrity of evidence, and the recusal concern,
 this Court can facilitate a just and comprehensive resolution of this complex legal

 dispute.
                                   Prayer for Relief

 Appellant prays for, and seeks the following relief, God willing, which he
 believes will serve the interests of justice and ensure a fair resolution of this case:

  1. Default Judgment: Considering that the intent of service has been met and
  supported by established precedent, Appellant requests this Court to assess

 whether a 'Default Judgment' against the Defendants is appropriate. The
  Defendants' noncompliance and lack of participation despite notice warrant care-

 ful consideration, and such may be the appropriate remedy to ensure the case can
  be resolved.

     Appellant takes issue with the District Court Judge's apparent suggestion that
  he should pursue recovery by moving back to Oregon instead of allowing pursuit

  in Federal Court. A sufficient award of damages would allow for such relocation,
  and Appellant seeks the Court's acknowledgment of the damages incurred.

                                                                                 Page 22
        Appellate Case: 23-1197   Document: 010110898949       Date Filed: 08/04/2023     Page: 23



         2. Reversal and Remand: If damages collected from any judgment are less than
         originally requested amounts, Appellant requests the reversal of the District

         Court's dismissal and the remand of the case for further continuation of proceed-
         ings*. This remand should include the opportunity to amend the claims to address

         the damages caused by the Defendants' actions.

         3. Reimbursement for costs in & of this appeal would be preferred by Appellant.

         4. Approval for Joinder of any Additional Defendants: In the event of further
         continuance,Appellant requests the Court's approval [ADoc 1] for the FRCP 20

         joinder [L\Doc 12+] of any additional Defendants that may be properly joined due
         to the new circumstances.

         6. Appointment of Special Masters: In the event of a continuation of the case*,
         Appellant prefers the assignment of 'Special Masters' in specific areas such as

         Logic, Real Estate, and Jurisdiction (and someone else with extensive Intellectual
         Property experience). This measure aims to address any potential challenges any

         Judge may face.
,,--.
         5. *Recusal of the District Court Judge: Appellant moves for the recusal of the

         District Court Judge if it is deemed appropriate. The Judge's handling of the case,
         refusal to consider critical arguments, and apparent bias raise concerns about her

,-       suitability. A much more experienced, male judge, would be preferred.
         7. *Appellant seeks passage of the 'Motion for Judicial Review of Forum

-        Clause of Exhibit J' [L\Doc 11] to enable interstate resolution of presented issues.
         8. *Appellant requests the Court to consider granting a 'Declaratory Judgment'
         under 28 US.C. § 2201, as illustrated in [L\Doc 24, Il(f),p4]. This judgment
         would extend jurisdiction to cover all appropriate eventualities in the case.

                                                                                         Page 23
     Appellate Case: 23-1197   Document: 010110898949       Date Filed: 08/04/2023     Page: 24



      9. *Appellant would strongly prefer that this Court allow the incorporation of out-

      standing issues from the related Jefferson County (Jeffco) and Denver Probate

      cases, which were interrupted by the fire, as well as promoting actual considera-
      tion of filings and body camera footage from the Boulder Metro case, into any

      continuance of the present appeal. This would enable a more comprehensive adju-
r,    dication of all relevant claims and ensure a just and efficient resolution of

      Appellant's legal disputes.
      10. Motion for Suppressing or Sealing: Appellant urges the passage of his

      'Motion for Suppressing or Sealing' [~Doc 2] regardless. This measure is gener-
      ally vital to protect any sensitive evidence and classified information, ensuring a

      fair and secure resolution.
         Appellant firmly believes that the relief requested above is warranted to

      address the injustices he has faced and to ensure that the rights that he is suppsed
      to have under the U.S. Constitution are defended under the law.




~.
                                                                                      Page 24
Appellate Case: 23-1197                                               Document: 010110898949                                                         Date Filed: 08/04/2023                                               Page: 25




                                                               CERTIFICATE OF COMPLIANCE
 ..........................................................................................................................................................................................................................................
 ■ I certify that the above brief plus the following "MOTION TO SUPPLE-

          MENT THE RECORD" complies with the type-volume limitation of FED.
          R. APP. P. 32(a)(7)(B) because it contains ~6800 words (with any additional
          attachments also being within FED. R. APP. P. 32(a)(7)(B)(i) limits). I also

          certify that the above brief complies with the typeface requirements of FED.
          R.APP. P. 32(a)(5) and the type style requirements of FED. R.APP. P. 32(a)(6)

          because it has been prepared in a proportionally spaced 'Times' font with ser-
          ifs, using boldface, underlining, or italics ...

                                                                        CERTIFICATE OF SERVICE
  ■ I hereby certify that a copy of this Appeal Brief and any attachments has also

          been served via having been posted by regular mail upon [Suzanne Leff,
          Attorney, WLPP Law, 8020 Shaffer Parkway, Suite 300, Littleton, CO 80127],

          as well as being served electronically via eMail upon both Suzanne M. Leff
          <sleff@wlpplaw.com> (current 'RegisteredAgent'), and Christine Mollenkopf

          <christine@boulderhoa.com> : Whittier HOA billing (located at the prior reg-
          istered agent's address, ~ at the time of the fire), and further emailed to the

          DWS_vs_Whittier_HOA_+_notifier@x-in-g.com list which has been made
          available to any residents who express(ed) an interest in subscribing.




  'Appellant' Signature: ~ ~ D a v i d WShaver{PRO SE) Date: _ __
                                                                     0 -/:1,J II                  4-/~tK_
 Address: 1750 30th St Suite A338, Boulder CO 80301                                                                                                                          Phone: 303-351-4239

                                                                                                                                                                                                                     Page 25
     Appellate Case: 23-1197   Document: 010110898949        Date Filed: 08/04/2023     Page: 26



                       MOTION TO SUPPLEMENT THE RECORD
         Pursuant to Federal Rule of Appellate Procedure 10(e), Appellant, David

      William Dacres Shaver, hereby Moves that this Court should supplement the

      record on appeal as necessary with additional evidence and communications relat-
      ed to service. Appellate believes this evidence is critical to the understanding of
      the case. As Appellant thought he made clear to the Clerk in advance email com-
      munications of 6/11 thru 6/27/2023, Appellant believes that the record should be
      supplemented with the following items: All those allowable exhibits and attach-
      ments from the District Court record which may have been omitted (including
      Exhibit J, and Exhibit L, and Attachments to District Court Document 1 such as
      the Civil Cover Sheet).As mentioned "I would recommend that it is ensured that
--    such things as the public record of the cases cited in my Federal complaint, such
      as the 'Boulder Municipal' case (particularly including the bodycam footage from
-     that), are at hand and/or readily available to whatever judge is assigned to this
      case ....". Appellant is willing to supply this Court with assistance as necessary.
         Appellant believes these items are relevant and necessary for a full and fair
      adjudication of the issues on appeal. They provide crucial context to the
      Defendants' actions and their decision to ignore the appeal process, which has
      resulted in the demolition of the property. Appellant is not certain why these items
      were not included in the original record after his requests.
      Wherefore, Appellant respectfully requests this Court, God willing, should grant

      this motion to supplemen~ t~; r e c o ~ ~ the aforementioned items.

      'Appellant' Signature: ,£,l;;~David )J{Shaver(PRO SE} Date: _ __

      Address: 1750 30th St Suite A338, Boulder CO 80301             Phone: 303-351-4239

                                                                                      Page 26
     Appellate Case: 23-1197   Document: 010110898949    Date Filed: 08/04/2023     Page: 27




       Affidavit for Recusal of Judge Nina V. Wang
-        I, David William Dacres Shaver, the Appellant in the matter of this
      appeal, hereby submit this Affidavit in support of my request for the
      recusal of Judge Nina V. Wang from presiding over this case. At the time
      of filing this case with the Federal District Court's Clerk, Appellant
      expressed a preference for a male judge who was not a magistrate due to
      gender bias experienced in having only female judges assigned the imme-
:'    diately previous ~three court cases explicitly referenced in this one, whose
      contributions to the current situation have been outlined in case filings.
         Despite Appellant's request, Judge Nina V. Wang, a female and very
      recently an appointed magistrate, was assigned to this case. Rather than
      heed his requests (which were later even shown to be in line with the
      intents of the Title VII of the Civil Rights Act), which had also come before
      she was even assigned, she appeared to Appellant to somehow take any
      suggestion that there might be any bias involved (and everyone has bias-
      es, in Appellant's experience) somehow personally.
         Therefore, in subsequently performing more of a personal investigation,
      Appellant believes that additional sources of potential bias may be obvi-
      ously inferred from the public record [i.e. wikipedia+] of Judge Nina Y.
      Wang. These sources include her reputed previous role as the former
      president of the 'Asian Pacific American Bar Association of Colorado', her
      place of birth in Taiwan, a scholarly perfectionism, and court practice rules
      (which raise concerns about her thoroughness in reviewing court filings),
      and the Asian origins of the current company most associated with
      Appellant's stock certificates or any recovery thereof [Celartem of Japan].
         You may see from Appellant's resume [Exhibit G], that he has visited
      Taiwan, where he visited a 11 God of War11 temple (said to be quite popular

                                                                                  Page 27
      Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023     Page: 28



       there) and made note of other aspects of the culture, which raise concerns
       for him in this case. In U.S Supreme Court Precedent such as {Church of
       the Holy Trinity v. United States (1892)} and several others, they have
       appeared to indicate that a belief that the U.S. System is effectively built
       upon the works of their "Prince Of Peace" instead.     He finds the amount
.-.    of what his advisors consider to be incorrectness in her responses to be
       unusual for a student of her reputed caliber. The actions that she has
       been taking also appear contradictory to Appellant : rather than attempting
       to adopt a position of neutrality, with peaceful intent, and this adds to his
       apprehension regarding any potential bias. In Appellant's experience,
       Taiwanese culture is also popularly stereotypically more known for a
       prevalence of duplication of the intellectual property of others, rather than
       true creativity, thus someone from that culture would also likely be far from
       Appellant's first choice to evaluate anything akin to 'Artful Pleading'.
          During the process of this appeal, Appellant further has even received a
       summons to Jury duty in her very lower court from which this case is
       being appealed. The written claim therein that he was 'chosen at random'*
       is statistically exceedingly improbable (nearly impossible if from the gener-
       al populace), in his professional opinion as an Engineer, and as such
       could even be potentially perceived as retaliatory activity. As of August 1,
       received a phone call indicating participation scheduled August 7-Sept 1.
         [*Given her origins from a land of Brahmic languages, that may be 'Bull1-
          I affirm that I consider all information that I generated and presented in
       this Affidavit to be accurate and truthful, to the best of my knowledge [and
       according to my adviSP:fl5:)n line ~ ~ ~ a w s and rules].
       'Appellant'Signature: ~~Dav1dWShaver{PRO SE) Date: _ __

       Address: 1750 30th St Suite A338, Boulder CO 80301        Phone: 303-351-4239

                                                                                  Page 28
     Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023     Page: 29



1
 -    -----BEGIN PGP MESSAGE-----
      hQIMA071ecCcWVXwARAAppLbblt+fY7KCGdonJskUX4EQEgNRyp3zWifdle
      oAUmzT5Rvq4AvcXcodOlm3h3Mcu3sbyyetW07irAx56/UIB0qdohcS9qbhPXKF
      pTtsR0EfRlgTgg7nDddevOONJgclAESvWTGSXW+z//m+SvngDTMp4th25LrC
      SDQCdDE7nefLMBWAOo3rwuHiqoBXvPaiXLgriKbiO8oDqUBTT4xcHatHcpJ
      3w+kdJhzSnNIHwMi8qN4PdlVu+yAjF0sr+uUKkHT1886sohYzbLIJrCWaNI9N
      wmOj9YV+gyWA6ldrDQ5iJDS7yJGerJsYUaQifajTiM7d998MR4GakgWeAHjN
      QNPxBWjAijQa4Po0ZJIHpLAWoCCOLPnUaz+sCzo06V9pms2xpeK2Kd4Qn9g
      LJvloIUNgP4nS6ZcUBwzli37U8Ljkm8LfLCVKqgEOaaMy0BS3eCSxqpmwz/Q
      96DRwx0rZthaoTvrGZ2JU26jhBRQ6iWNEtVAsgtmrEvShMN188+FttszBZbHS9
      d0dzWfXzKwqmQzzFFV9+SRugcpQh110y+f7lunJetThlExiuRs6DBffvmocgldlZ
      YnK5QsLvWNeZc6yihqXLQp9XDwt/uF60cjFKlh0UVNsCuzswC9mRweJNEV
      ApWrYUM2jAhGK4FW+NHtyhUU7qD14wzOri26PLS6gGfuQBg8zpvGayWFb
      Z8XOt5Va5eKfMcMduyZPIZByNcGfLdIB 1E3nScU82PNJlmx4zmAfGmAz6W
      FGUrowzQMcQunxy/hxc1384bavFXnqapxzGGuH7fo0LUiG13bt9L8hn0M7U94k
      vBcNaIX3WiLS3PKZc2RkFwFoV q/fOMssNXCPxXeEF52zDSj8C6hhb217vxLrh
      FPFyPoyLQ3gmWZqJfPpNL0nX7wwv2eZVqo3vxFuUbtF7jOz3Ln8pjTHa+ol+b
      BO1j6pHGr7mCilv8EFuyRexditPAs8DVJZErAUtpi77pLeIF/cxsw8js0u+qAvBJT
      AYDRqj3YeRqr/9bRZcA2n/U4YvkTtqUY gKAOrgNE8hsMhSFNI7C4SBZg35Q
      CEy2qnzBEnvYYiMHA0bS3GYcNibKdBNo2RCtlZDgUzzC1 YoAeluTTACGtDI
      EFZF/CpZwB5yLrdIExqH9TfuXmOT/kvqGKKTlntO1QDgvLg8FgnJSQ469MD
      BJ2POTU8r/dlPqFE4uJNJ/t0dP4cStnJ8n7iPUnlbumgsKJZ4trbYCVkvlkFeCxC0X
      +ptDO8dPrS/Xc/fmLqkqD8/elVR1 V8s9fe5zuu7Eemq6P1AyYO9SzV+9m3q81ib
      mzlte22NsOmUGKx3WAPx73d2SRysyYHjTyUSWkxKad4LUzVuzHG7NOnW
      gsJvyG997w48J3Xqheh6jkDTMwG61SKx7Gt+wED+dqepuArMPVBtoGUVXY


                                                                                 Page 29
    Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023     Page: 30



     ZOws4QEDYGleqDCAVF2Nvqhtw6pDLp8loihHq9975W4fwF1WKsB1BFni+5
     +TsSEdOGPcq 12VzdBOYP0rYESBP7MFhG5wvTtk:K.s8OLFJquplc9glVnD5Yy
     kZkfyAl6edG6k1OzcKX6lxa1Qw/ZpdSc0il2hO2ZYSzs8HdlVnaNNlmlvHUMT
     kjN5doKZ74AlXpyScbeLmXPHgEgma7tmifiycwDVsfNeTpspfxRN8jMWUTW
     w2xpuymC363CV9m4KOHjolL6nEMfpHMFuXtKdO2xXlgYhCnT2shQNDiXs
     SfDVomyIS+iAD046lXZGtOmzXV+EKAZtdGOCoymo58ZGtv3UO21dyN1Pv
r    V42qWTn4Pr2d8A3nmJhUgp4S0hX+lklbhX66/6EFcKJCbUaKjFmr3Mmg2rW
     VlkaTrHQ6ZrDyrZdfSAqtYEsu2R7flVHeiWSbQD9s5wBBVrMtmT/OXRD8Ws
     XNPliRbfoLy0M0y7kgmDZ0zs5h77r4bGdybT+TJXuPy/06m51KdB4bVCltr6Qz
     BalaqxCuIU37TuG2SZyHRcG3PBg91iXJGZ5YAFBBT5Tf6buSYQYCMs3qgW
     nSTzl+JMlldcZvKNvFJ07pMEuzfpDpkGEuk4vZWslhFJ2YFLxWA5wO5iMtW3
     A2BcAgwOZ6vfzl q81Nj8ugFFaWPzgxDiuL38wU4FlqO2J5AwcFrdZiiXQoz5 g2
     4p9fr2Y1UkMnUvHvxV+ympY6vWiJxdN4yU039nUnnqcAqzZLiJbJaHraoAUK
     +x0BfoflEBuGHZGkN3cvnriZgZvNThKxO5Z86gpql+NWxKxhPkNEitZCTF0jj
     /xOz4Roi3Q8DMuXrbh3qRy0c+jN/DNyK6jSvlzdVJ8J spOk/+ liSv+qf4DT9aYi
     ZQMb+PKl3D+4VEizk4PL9wU9uLpkDNKcBBTLadblqZU3xJFp2Pry+HisFMH
     N2911Xfl bqSafdSVaRf94qvLx/CmpJA1 bS/QASOjOSdUGvKPmGuv71 UWlQN
     3+cc5Go/PQeeA114al5oBljrbO6dpPmmY8yZRZg0aB1JW/HKpV5cEiscFid3EC
     6vpxTs59Yvl tlivMnXG52gjSZgy4QRMoCySmOSoml p9tm3FZdHGOpQRbE5
     MPijloWn/Nx6wgj2xFpxS55z24VPVOONEG/R3S1NK0xqCmbPd9TT18KjJnmn
     bEzAGmm6MTnblhaDIIOhmoSn3uSKNDArfPsj4rS9tOsVX8LlzQB9RLMGKX
     Aca0E6Eyh7LmopQCPXeQMkqKtEiljv/UkkxYGP34WYRVrYB6nA4Xq8qPTaG
     XgOCevxB3bWKbKg0WuWDOEJgmqcrhkAVBtVO4205zAt9hO3ISLTsdiarD2S
     lvqf0Yn9LTHrOnjlGVYcyjeby1KfWehZESgGVU4F6Je+ploVaL//3aRykWbX3n
     dm7scN6E/8WGTjy0N4uXGyHjnqxw0sJ/j2ZNenW+Apwc/fwv3oUc+AIDJv1Pn


                                                                                Page 30
    Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023     Page: 31



     88utsHj5m+i50xiLOCQpsT7swNH821UqmgQqawwJAs8xltHOlplzB0y8u3MX
     B/jWzAHTrlMYe4qrddmJKZUfBOF/ogkJw96TNDavjikw9Ps3ZuBKbl/QGNB21
     GGGVn+sT0FtvaS/O11QucVvEB+e8Rik3TI0bLKGweNo53sjtWMTtXvh9kn3E
     YwHJKkt4ldWjtqClzzgAzEGD3gZCFdPVKfnwaaf5xxo27gEicNpYTh/EJioPHW
     kCgrCdgl2c6Vjhldfv4TXsVOZDhifc6FUO31d7r8gC9lhiQIXk0+npOHFFN8gmn
     5xJJJDjzEIR9Rg8j5r9NS4a3yVUkH4JpRKkj/tcvUzB/DTTEfezt48xg6NA==r7
-    XG
     -----END PGP MESSAGE-----
     -----BEGIN PGP MESSAGE-----
     hQIMAxVSplIUH76mARAAjMDPfE9AQ0c6kdpGVM81 CsL5hvMyh0At4HbrF
     xUGWsJZ1s5rjHd5TXgNVSkSf3X7DTx8pShFnl06Ihnin9ulodsHOrVRMMu5N
     y0l bBSK+e7ZvJSLJT3ihPpk86ktkp5d0ri+e4OHdzP9NLHmjiu6wGOKwdg2Pcv

~
     2Khy0rZ0vtFHGlaRWM9HuID+ief/SwYzPVUJib/eQDTg0K4oFpGkyaLpze75Y
     zDvB0mt+Mn6bP3xngS8BZ4f6PHulKNk7DCHv44kR2Jy6LfUn3rQAShl2D3cA
     sQ6fccFyLaULAgcB 1vGPatgJjKusl2XsF7 +9Kh/xB+g+vtxtGHW/qFl YXrJRnVk
     SPAM39bOTt0htEucppan3MbvGxvdr83ZDTt/+vROj/lVcm2xwljKZplwFD+dis
     pd1PuNCITI6iE3j8O2AENGfXcaa8cBM4AsWiCANyOpN9efKE3O1Ql5c7VVs
     SIIL2gpJ49+IkYgixzzFiWQrzleGmuk5NGegAQgG1GrxixPc72/IdEZpiUB5YQIN
     cHL5SDic4r45LUD7DOkJVliG87XTJzQ2B8cCK0ZrJRCFjJgXMf/M2flzx3nOltx
     a/Y /zHocuahm78RkH07dwlks5VZPmDFqKJxDXyYiv9V1Jbn4PVSsBm+8hnZd
     L8pgj/JepAPVlxfybz2D71N0ZZgZvjS6wGypx8uQEho/IIOWGjXKcBXiOscfuHr
     UsU713NTPGxl9tSaMkp7vMS8oxb+f8VkQWy72JLfHnHQzCPro3Zhul3gCvXH
     X+VNqTWCqGk9IBDN7NxhBEs9wYSojGTnJfRnT4DOiEILyV+KaVokTk1Aq
     mIPk27kzeUX9cKATFjOibvSoAJE9x4+g5/lgsB0gYHLOJ0fZz9FljeLxRqLQ3M
     RmBp8rfjmhqE4XRCiayVApQHyYzefuvAfOvlfmNh36LWCdBWB/u7G0ZDRF


                                                                                Page 31
          Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023     Page: 32



           nPkGuXDD/zyGLsv6gNVUMg0snh4bllvyQ9QomhcRF5SuVAntL5tbRpe8IlI2wu
/,..,,,
           aXOTkc9B5GW/6YvUuf4lysJAqzXZ0xgOiUSvP+Iwp/lrSqnl GZ0GmxFTEqh/9
           DDm6HXq7i63NZ05fG7JYelH4/9ZVGwyNUVVRof3VW14b8/BTDTKd/p/1S3d
           1Foehu80JSyntM94ZGU2Oxl2keSxBbSRHmSKlez/Bt3uMKLv9FlBBUZwjKd/
           w+dwJtBX51rAUNtmFGyQo+BNj5AbxUdl/oIN6k4z14vR461DKU0Kj/8p6Tbzx
           SXSHLdalE3VlHakPxpcfPMMhaWOrv24181aki6dB5cGCfPwgQNZnJ5Q6gQUq
           2vJKJH3tV4OOWS9Y sKGlnDcjw68Iaic8TKEB0VGzT/eEJ+Y zJasj5fjttxP72H99
           eAi16QmE4cYc/aeQ+paV gvl Qshs4KwVGou/wZQd8j9a/RxfH51O+k8pBTuBBO
           4Lwdvo6WTJ9lg/rSF5uJzctUDtH5IRYm VFRUq26Msj8WG8Y zaAEc3l5XWkH
           BWwlZMoKTy7k17GHXSa1SeOnnHQ/1MscEqGMEYJIE+QWpz8TaicXaWii3
           DgwdNh2gBXbNBrannmyTSd6Nj2alu/LosgJmRsdqaY +34uusGOe32jbxa41LMk
           6yEchU48MD2UoFL2OQvlKC8veNezB4jo/qtT7BtxxgOnlfQBgrzprrnWOicXRZ
           EuCAyjttVwY4sqdY+k2DY9/TwGopLYMyOfsQFTK3bBvuj2PHYeFvyZ5RAyO
           dNHzhiPYq4RhyBx4M0EWoFBMzudHTWFZFrTG6LiVV7hL0uEEt/463V7U3A
           ldb8Dg6duauJtpa6hZNrTaSAY cM/DcHtm9wdiP6HBsFO4DjqmcjKXFHecQamp
           Nv0Rwcv9eJSnHVP3wviKH3TuLn+KPY1Jj2qWIDP2DjeiNWA5UjRE61pqVd6
           0szlGctNSFUDkEBYDpOjjU7GDdl6PAvMGD2HefJbM85e9GXezWkSY+/Z04B
           wM8x1B9kdALskWTRYbjDxiglEwGmtuwqFgbEhl2ERcJQoyoEEoS1 wghyfFAL
           FLBuUdy4jNqfECFEFOc/f3dkXtcqZnIEQ6TRSbUK+x5/lrmDYPmEjrfAUeXPil
           qXYfuluoIWgYksW9S/51W71AzVLN+NT8FAMyKvS/v5kx/livZI/CwcC0lW39
           BxA/YF0qiCcZg+xGwrJQYOsAbSYm15luSL3KDtUk7+61 U+LDUUM5JL8uGf
           1UznZQiBikC86jNgt3MO8Xs/12QRsVvO1Qj+PENcwiiCWgDORqdiklfnMzhEtm
           21Judlwly0WzJnU2pZqW/A+uRYPyUVNkrrThikfqi/12bQj4NmwXI+HX0DW38
           gRumHD/jgKFQFyZGoK79Jk42W/mxE7 eDe6LwuWXqYLjXiCrbW dFE/UW0U
           o5bASmZWDAy5ZAKOe6PVuTMxgHbol6Lf+GYMiyBffIR98wLa/o4N9vuk/6d


                                                                                      Page 32
Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023     Page: 33



 MVDl vp4Xl8tlfR9hgaV7wUk9Vuw++mk+HoRAOO9ztJjO4jXh9gQvjmAWOB
 gUi3oL+n4QVr55NPmrCE9WDrOCIY5T14umEQ3i7Vf53Q8mHi5ioPLG2upl+b
 H6ulK68gXOYJq4ylEJ5Ze53e7m2MTSPkFkzAf0x/z5wHUu9HcUZljWsuzYJD1
 lltsDi8JBE8BpwQSbh+O56miR99TNWxW0NCJkOAiel6VEZJDYQD91yC0I2A
 axfr4VhtmEJXYVJJ5DHdzJsPCweODeHTXbR0Md/ofcJzEv31Dzcox+rdGzu0hw
 wULYAg0zZTkVYYiTDqIXwMmHWcOC8RaDRKIFHRalnsxFNQbGpXY gMa
 H6a7 gYOrYymF8BySb2pLROtopu5PcP9eOM+EHLNmvN6hC8sftcvNc5wKV9q
 dxqAv5ZrBNkbEaJNu7lvGvaCpFjKijGjXARH1 +M7C+vQBOGD+o03HguLETc
 W3OOr63eaBjXu0hXj02ByaKbA8ZH/pcHxlKKm384eB6wb2WS64CHlYGzhk7
 VVKp5oSlp4xqKia+ZrpLPpBAHO8R46EoiOGFoR6+Kra6+FLJPwM43HlaiHdl
 KkpokCsqRZ7xX5gg/dpv02DHR2rW3fJhZ82FtUzUKaii/4p39tQfhwVkcE8dhfD
 bQ4CRmPKs8KFc4pAmPWXqAGgMXV3HwgLTcWEr9jMmmdvLp8UQm7qC
 wtVEByo9wnreMI+7ZPxWzBCmUNzzE/yZZ9Ql4pSO3zzkrycMRrjkm59XQxM
 UpNqQOmfRaES2fuMTjQmStQiRKf2SQt6pQXohBsMKcFd7vCL2ioWaWpPOb
 0mPbXDMM7Bm6O3FG6dnWAZjD0R6XlhJmsXAnsuSdRU9JcTtwankeDYnHi
 2IHF07De6Hjrcl92o0D5ZrT67MRZnkrTR2G7E/dy0ZsFB7O2Pf8cMfgFnh+iv2Jj
 CDtxX2ENduUpq1B6Xha9kEIG7dkrnCAdANnwfFMD/62qlJS9cpsWQEAkmhA
 FFfW/Lb4XcieRQzarliSR+HedMvnFKJPv9IK4+tkilnZK:tM55OsFdMo57Gf3Lh
 M3beHKEKifAs9CAx+tcEwtM85hzSIMeCGh+fRXy0X7TPBNU8hdkvUVv4+Y
 DnDN86zhkBdzCPsjBmzavOFjOjT7opYXSP+HsNCYzOgNbx5DF0WdAR2ylzn
 cXtDHMt7R3xGht/ngk4ok5tH0esBcnAtIMVkxlTxpqZBjo4H3MmyzS/sz16gyGG
 3ePiNFsiRrlxvJqbRGs8cjYX21RKvJuBjUUtKDaICY/6MiGtlKaVT5NPKHN47B
 0qn0vzcNAsuCev8QmJkaL3F885hDDqflg7C2GXmMliR52LKx5r9t6kryJS2POli
 jARCsR9YObW4DTIWyQVE3tbE8gqVctTKJrWNknRHOTeeAN1N9vbMYQT1
 ooWr+7P73dZT6Qub6+Wr3QSJ+uKS+IOzTrPZCFI9jlUx3wLBeoIPCmkQEFBr/


                                                                            Page 33
          Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023    Page: 34



           8o+Ey0PQKyrVNJ172QkxY++130102MONyWsqFpGPtA+5774R9eanSK+dlzOx
           /kXUR1FPuS4EVjj2DcY2nUlmnvnGS0Z9dzadUj6a9vRWfsheAUfggOURgeysP
           jwlPxH8G5bLCbKylfRxRbe7REhjkXrlj50wRAy5XFfN2ENNw3CQpl6ot9JY+s
           YOnHXa4ORwjQlqtpLT+j0meLfuU6umbp8w8NTXmNMhESJYfdMFh6dvwwt
           Hlaso11Jaaslazyl7Be4T2VKTKOTzk8QnkdzmLw6x9RTm2bVyVNcH9BrETOuu
           yQO38XXNHQPPjopb4QbOCxsfUAQOPMSvRaLhn5tyQhm8VncKq6CwnRmel
,,....     Ybq7hl+/H0AafcSRxAvg99Qy72ro6LEkvkyh47WxA9Op/TlryvJLOtegd/Wl/hcJk
           eCfMyC/6guW1DSH0YK7P8qyyNeyU0jsV9WZC1O2KD9kT/SYDP0klZ7fMHs
           6C3rRhZj+HMOiaWT7T4gdgXtq8mzatsrKwmj0vK0EGE3fdn7CgVhcJaOixxVb
           1vOXDt0qTiz+8/vl GasWooljohVaZkqkpkealm7jQ3bRrrwnHoeraUpKjBPXny/6
           pY +yrYI5mChfJseFFD3VerPo+/WVybggLaqMBkhLk6yY6HJqcWV+K8jDelXP
           ge3zdv0Ca3A6PfIZu6UxGkbd0hvpokF/3SAPyBqvHQaMZ5TYAOYfPqpWHZG
           tnEu8qit87142Y3+vXuVBcE3EfSQOFQamNvhF6A9FfPGVjYbFMuEQ===EZb
           0

           -----END PGP MESSAGE-----
"'         -----BEGIN PGP MESSAGE-----
           hQIMA3RcAzc0JewRAQ//dSx9wuN42s95GBUi86y+Ye4CujJEKc2Dw4rAg0/KJ
           dzubAuoWRfJj 1FhtdF4sK41F2x1B3AQ9zfOJCGlosGORTSSnyVERqRgesjaQzW
_,....,
           lHXgfQZc9iyCirJkbdMjSxW4Fu50l9kfr5EK75vO4/GHxSXoXr4gzM0CuwL7sD
           Gitl S+hclnljERTjgJ7YeBuEXYMH5spO9aeFp1Mllg4M815Hlp/Z8f0ypiVBoSw
           bp22uV0/yF0v/TdFkSShocPYdTpoqeTP12HlGTYITZPOxWt+cRqwFfokd9Gez
           hvJ093DrkBXbYWEUsfgTOBRaUC9mrahD3OxEJcoWwypJ3NtkkVQqIFChPEv
           SxRek7vqSk/LOs2HGbE3cqeGmFRhT3t3RYQpg4wtKyEW3nil07TEQ6FKpqwy
           +WK/dFr72yscjbcAc8wZ9vsN5J3+15THnn0qA8miYtOYMuTo9MuhtOFn8TtezS
           D5Fv5L0VEvzgu6Ba+lEKrRb0bS7N82aEPM9GNOIHRhnXbLqOUpJmPM4VQ


                                                                                      Page 34
Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023     Page: 35



 dFWF5BjLfxmmjvB8ygopNLM4BiJM+cszSDcl4Rl5kLiD6xpqaO6dk2bPbHxtBf
 2RTERkyJr6Qo5/DnW7Zl vzTftt+9A0SBlyitzhALiav9p9J8D7XdS6XWhmtr8ros
 cYPc6w7Na3D/Z3LEkv8wsP4UPmS6kjS6gH6L5NugqqSq/6j9uJx93xPCoieRo5p
 bHjJGvlfn6SX8/buSQ5bpTLflfD47EIUmlBXbv4POvyLxF/MJ7b4kICHJV/ECUc
 SYV81rxLp+alt78k24+ps8rwPMO2EDORlSbPPuHLz8zW20ua6WqeBNczdSfJC
 zJglghpl01C53UJ8fP1GliboBUDJZcTVwqdV8bG81C0PZCtA3LvfMrtMoXJiz4Y
 aePhfgwa+TIEJ8pRswzLSo8+OBk4ehy4a+LLp2ceJwul4hXmk8dy8tqvsgxzlKgQ
 zts6gaithOw30T26+vEbfWZJix1NsPatTQwmBMe7xeQfmcNnEX8dkltK1 cbLnys
 9ZfcTuyxMMjaaszRG9vkBT4uEg7eKH2KnDZBk5PHcQsPAn8SAgKsqKdEFm
 M2eEiq0ddEyWceODHVvkAD875Cm4umtctQo83pCLmanJrmFDKfltbXssHgl v
 TDMq5hPSwal603QXHCQhCladOgm8KceGYbXbbfCd6n5siM+ErnX19H9JymJ
 mZs71FQJYJ8+Z3T4obfeKjWMvPF+/9+61Wj4RGeouA9k5b3rKP/HrQSUtCt+l+
 0Q2I+EqBAH5qoHilAKqq loNVmkeRnAgVpP81o2w6uFPPSBRH7LIUklDADK
 3xE5HHyerMYH5MoiaGKJi+xlCqZ08jGN3uMC3GlH98b8VXWHllrkyE8mt7lf
 14r8cLaFPnW9voe6qLwTIQcRZEe76cl2zMYObH1ZDBgoXKmsKDFB/6go4Jvl
 jtpFknlk4DZ+Nl C9TVNOCXq3CgpC2irK5LGGcWFIRhyn+TEL9gLBlcbBBw
 FfNwCryt9cvRllzsd/6nssDTF2OwU2E2U6kcvGigmH/r6XRKWDBnSr2r8z/TfqE
 VMK6CZAhYw3Z0wMy4Yv++oWJVMNxFGUaAIUC3hpCXyFj9aHBaCZ66zE
 NY g9nsDoltOQkztVs26n0wLBoCM/jSnmvmzZv0RV74/s7Nm2o9xSrPdSRpXQ
 Sh5eJaEhglUYUrsuD3u2Whp8Pcriys66mhG9+VkZEubXtlAjxPb6jqOR6ZNo4Q/
 iqrG3/LI43AiXHlzHzJw/ewsYkjOtz5SFUUPhBiLL48uL7Zb31Ea00Q/bG7+WxoJ
 OWeth0Fu0sVldDHnUDeudtpPBPU8G+OjQU8tzfjNhB877P214u49Iqs31sRxK4
 o/vax3wAVhQ60juvAce6JLHY+EdgcQ/AoxhSiNasapAj3vlmDbN1 ywfixAtcK0O
 q36nchNgnnz+B/fOBx2/0kfqbKauQzfo9AM8IF3omglp2FU/NBfitLvFaOwwEGC
 VftOfCiPeTs+xAiipcGf5y1Mtr6sFel VxDj6FBFRVvZxitzA3yg/phUZeSrDghl78


                                                                            Page 35
       Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023     Page: 36



        XJF9neD3m/uzb/RmZcthDBGQdkU4MTlj5qopfrHOB46A3LX7GhwUH2oCGp+
        ZHaq3WXvB8fJLBtO21mQ/NADbPimxAHcBZQiZWX5sgBuxbxvaHLLWOp+
        E5mFgMh56PVGvCQCTzXDa/0z4EdEB+fd6tl4FmpW6DB4IzBLdxwPYvhVw+
        GbpastazJ8ffit311Rm2BINtN+WEXx2nsplLJGVHweP7XU6v/a+Dadtl lhY +m7O
        aEBi4oy/HglDT3E4oHNIDk9xDpizX/9blOTEuhSm5O5kJyaEmLbNQFqqs7zwK
        qi0wC01Yyk/12T2GND/wPaAKM5rN6ujwKMhzG5q 1Wr7J+9aPfeCmLIOjg4hVO
        avzdUZsMvjkqo4i8CikmbWXle9HUgVXNTJ+7bYynroRrc8cuKIJT1ZhCPhKglS
        P/nFoXu8/S0UEkeblxTAihevkx0pVBvjxcjc9i 1tqFdRO 1PysOfWQg39M6ri4q/eR
        TL2TUQw2haDLnSAd+a6Ftb08UVGuwAOMyelNaklcKp0LaxXzl02R/mlpydqf
        qRuSF/JF8JBiu/Ew+gvw/+qy7Je0s4+nkxSxklnKcarOh2cBVwd7oCxTPDZbXxml
        le/HHFvyq8XHmZT+il4a+kakYsGmjYhdOzlLdeO9QrS9YSW7Xz7HirkjLQoFr
        maJUhf8KqCpW6bb4p8L9SZX7Y4Y2wiD2XZPUs8JllNMKRX7QNvohkbrybJo
        2agPvuGClm/2mVe4Y9LDTpV8b3cin7xh2QDdu7hMMimm25ersYshcO2k+C9h
        Yi3b8l2dqaCyEHndBYRaPA9Evqml Wux7bPllhQPOn2cOLP5w54jVbXNKUAc
        7CL/3Ll4==E29G
        -----END PGP MESSAGE-----
        -----BEGIN PGP MESSAGE-----
,,_.    hQIMA5/xsokHXpcIARAAwKiodmhQE5otsRnUE+21TdwpqnMNf9mfby4unEh
        GAPWuV0o3QCR9/+ lnH4h/z/HwjJ5qTj7y80bhoELULKv6CpO6dIUviyOeAgTr
        2i4FFTdZKdzaNyJY+A6qONbKe7XJ0D2Pd/JgFUBTZ1WC3hFWRrYVtXIVX5
        YFvwopxWYltN4Mtw3QI+kkDSKtWqngkSqQzTt+4+tYN4Yh94jJL3WMV6oN
        Zr4aamCSlu42AmGpOSMcAGSz4jqlw3ENHD56O2fF+Q4aGkKbMRFCllz3DH
        q5mtDhl5LNNjuNWBUz6cQc2aSEGch6z8RYbMPgmf55Rj/Dfy+wJVVyw+O2P
        qbwG9PEAAuU66AxqclQ4N8W5hDE4sAkCMMdJ2vltZyclJ8SwumQEszV69
        Xmv6EekBwEYWi6XRSsrzBQz+gaAdkYN16MBDOPKfOat8Hqpkr04vDB7PHK


                                                                                   Page 36
      Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023     Page: 37



       tuzxhdWnD3F+D1YflczSovfW2o16qYPBryEnUT+Jd2/k3wh8yJlkrNQkiQlufJd
       HNasgxZs+vnJAtTS/B lGyzSachVTPM43ZQ+mNY28xnGAzDCThwR/JOd8Wu
       +jxMslmDPrQ60B5OYl WeQNNvaC//eQ5iUlaLum/HAqFiu+h/ATp300p9igtEv
       E/slafhmOWnHR0FD5qvUZoFIUo+2sn+xGvg0uCDkhiHgO5C+Fy07S6wHnN2
       mU983uelyqZqujmiGQHAcPcy2VN0OkTPQDQNuVSBVtZw5K07Jg3XvyAu/s
       njTE485R18cUmD+IqJQdYL5bnBtHXqQTeirwU7BEu4tUr9dKzvAr0zVjtTsd/:f9
       YAjD3Wf5LNQvpzb9EgW+xJkMqbJKlcYBdJSV5EHytDt9qbh4wBFwWNf8nel
       3XriyU5/ytdvDHAPhfwXYCcLbiUgm3yGjab24eZ2u7DE/HjC9U2b4w/ZTDrCs
,-     OMb+JgkizOncCgaUNOQMAW4M/uAohX3N6Pcc/H88MioYoJ2tDo2nQp0TnEt
       yBix3dLy8h/atWcll5qWodtysOzsFp9xhtBYlsly7lhuk+GIH+EocJNxKBg87ybJGh
       hXfd+O/tBRYYMSpfloibk+I+PFRgrUavrWwLclKZu12jAR770sx7aMTyNeeGv
       l4oGSyN1A5QotqVBFI6j+W dR8A+sgAht5IkhdOwr7yhWITQBFf65pmH6tlhyoe
       yllgeIV8dcqb2XLiy6Q+Gw7XR6cDU2+A/9ZgB3pYM4ZWqQa8SOj9DsQ1 Yl
       UmDP4PZbeQWqoOdnXqJlNMb2FMQewA0+YF3Mh5H5rdWL/eBnLAUdEM
       pSRnhRbuKBTxSn8sCwidOfs+ lIMmW7aHXaw3C/7LTXXc3Y dzQiTS56Q7dzV
       HnsKzwUBaYUDHoOayHmJ5cerxm/OVojDmdceB/cMGdjgxps63gChimfmXyaa
       SOgiHvJD2NrMu0HdD00eyPGfY5z7jBL431aGoNtmopQ+MKKVDc9R8vj/3X2d
/,_    G+tKa0WGwU2GmOklFEsg2dbNfd4FVXTFjpvgefA9cUUWsCn14Raq3JPwHW
       HsGLUS7ha+aUjViqDotAE6xdO1mOWVWv5zWE3zFnHVLxl O+yPfoPe7XQr
       TxeVurV70X4+rdUhMZiOG8JNZf5F63FORqLq60T0WEmT6tluvl WRylb4p0x/
       kjnIOISkya0oqwDgwJv7nLwqhXhQldQNFgdljKI22qCztC7ZSbIQ 1SoQYCiGe30
       GF0H6Mr0yg+FS 1Lks7TMm0DoJOdfG7r9Dc/u5Uo2KsjVRjSA90bQ9pt0Acbl w
       VLZUbl/cg/hzzE9TZGgOifSkV0CcuUbHZXWBbiaWBErRZnFutMeyhfVzLWV
       2gblXKQtglxyOzg9jFLASCITz/zwl0zgctDJoFEdGzocihxh83ALVMs49WJUMI6
       Io/YdRHEA9RwzYbS6kVy5NSRjj43c5/zs+bWmH8xqXiRqLcO/fGej7E3IYObC/


                                                                                  Page 37
                Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023     Page: 38



                 C7OY03CO7n7pOS+D0K1GsAMWcMdRFcXN0Gw9oTbEIZHnnglHCGX5v/J
                 kZQURM3 lkTrDy03HnBsb8Eleq4WnllYGPY482rWqDyGWLWixHtu/NQQOW

                 SoZ+pTepvmLFQ5c9uTNpCducQsw3Bm0+g3V+91 tcrz3EkFAkbrwiBiaGNPU2
                 mQFAMOlzfXNTI2JFbRq41SdMMD68gYB8fo7Ch9AnjAmf5tGr9Bo5ZPAsJOt+
                 8iE+D6NlzBsjzddYf4Pfvbm9+iOJolG8p+yV/eytVh3LJ5JTysltUm4FMyvMdOS
                 Bi7C7ZNY88Vi9GIOxAbDFqaH3JZGPemkowOXBZhPly4u4cHtwbvHK/ZH/RcJ
                 zYlRDHmSw2CfaovS43XKvmxdcGhd7Ff6G7Fzw3QNJKJ+Plt7X4kxBEeHEM
                 VpCMCiLRmrLXcY3Ui9G4NCiiRwONicCnIXaJs/Skr25KvoYAio4DVpfuUjMg
                 ScnJuh4G 1/H2rFzb76CSTA0//ll3 gO0cqxdS/BJf+113r5CdlRhyseUIVCAXe9o0H
                 A0+opFBBa9WqNvWJOzCLeqvj215BKTIVVWcSh2C8wqmKTuJVhbF2CkNaG
                 mMnjWl bxmOlBj4Z/hEXIJcOdLhKJ3dkDd6TkqllxuAUMBAb649p8ED/XQiaX
                 21Mc6U3 lel uKL8iRuGNcZz0gTe5/s5LiSmCwhvd15V5Thf3WvBQQ5FQk9yUl
                 g022kL7XTHy3wAbroOQcvj48ciBpMXU/0Z+qHQLxXH1WydwcICk7VcMu3d
                 3bCHvHOt1Xj573BiiDmiv7IpH25nKbP7nYHCC2zwqLcWUraNG//8fU3x6q+h2
                 qeHgq3qr6tiLfeO0WzQF1QtYYH3tLoHFuXfbYavISAFemy4uC54orbW2PzNV8
                 geAxmjf9F/vPuJjvsPLy9ZghVoq3JQVN/U9yPbygCadiCFQoyENEUDCoPVnJ23
                 QhCotiPr8n7cS4n4Jv/FwBsF839dWQ98iR6pM0wyvFU/PcBiuDrYUOinb/Y 1727
                 hyl TzmizqR0qd+dpa/WrNWeUfiatStd9RZA+oKZingDvl26xiBXs2l7NU5HqWn
                 uDjldfaAddRJLsSYGiua2bTrsSxWRGO9xkq7+ABx5F+HCu5hD55o/Z0+CMHt
                 hk7+qn7U95CiEWyju8O1JocJTAhBfLhFpXMNH6yigpS34n9ZUnA5zJ+Cc/02yo
                 SiJyEaS5PCJBR5QOytXM/gTsitPisQgUdvaTu4bCFn/xgTM3kvZa+gXlq2SEPA
                 mm0dt98pfAy1Jn9NJzPXbzxPfRgQWm977J3jjR37HZrd9sPstih+JNGbMR3oQ9
                 ThNLCiD4682yLH3cJFITB3OUzJwl/F7t7OArjUBbW8vkEtzcoXPp/vwMhhdbn/
                 pSkLyifqSbEJhGG6ONyZGm2YcZU/+4nowk5ZFnEXUYGJ9EQpWhgbhTTcgE
                 XgY sbXSbBWRyPO6cxv9HNrDq3+ 1H/WhBGcq2BUpuHp4jhD/I+sTgb/GW4IV

......-....._

                                                                                            Page 38
Appellate Case: 23-1197   Document: 010110898949   Date Filed: 08/04/2023    Page: 39



 fPAi8o68m7KueD674m5MfJW5vY ghRfOltgj+rjkky7Z5fC3hqryqSxrgwLZcln7W
 OrCHtDdmkPUUqjl/dUyb6iQggRiM9GjDrXbEAkuL9FCI3k7HGit3Tq9qmam58
 e6XbeUdwG4xxK2L3aeXXSSVKCYKyzpnpOaa71OJ0pbvJRiUw3/Gj9dQcU2P6
 /dXuv3cflTwU4e2pP3nt6zw46Ez/ToY d1S7B/528hjEvRUA174iE+rLH0WAvwkvb
 RwEQE/4+DPi9P4jl2O1WLN7VpVZH2XkOpi01n3jlyUyT8XnZ2xWW+lziTN1
 LPSSCKPbEaRpc0RXdIHGrkVn/jffdRRg8ElnWJ4i4F8PJks+oiVQbM0jLwVM9
 zSG25xos8m5YblOBt6TQboc331 +LNtMociiD1KKmentK3BqRMDpgbtzmkQPEr
 a7KbwnFPfA+2gNkNsuEAXDebwW8FutvRldqpgUuJ801Lsyx0+xHEI785Og6E
 ZVundJmGNwLBqA+iCXU9mREOFEWJ8PTZlhAoDp/9NE02k3UMcWybdyqy
 0EzlQSrHr4H7xPcgzxxBTJGaKrnd0Wq410flj3HOO/wVOwpRGQPb4zjHlhDD1
 5KuW67HKjYo7OGL/YDinnHJ/iKyeoq5FwB6ADt9dytmw1KiQgRqiBffPnSvDg
 rHIBtYflaWZRjFFJ8vuDPb9XTwJtHzmAOGCz3GGLKKIECxupkPzRampf+xC
 nUhq4yimaExr3Apm/sR2Qt4+Sgv9VwCDgWYF+zCN65tWIWZov6ullka4s0js4
 rGOR+YTimX2ppBBuu/WzMjcakbOch8zkxVkK277E92avD3vWxzTW/65ncCR
 kaUDoi1669sfFKuGbfK.Miy6Bn0ef1Fg2cMxuu9PMZPjJD5Y5p/t51PxMbdyMgjH
 EqQR2ujtl8D+mJxTHtHIEGtCizx0==HjDw
 -----END PGP MESSAGE-----




                                                                            Page 39
Appellate Case: 23-1197   Document: 010110898949        Date Filed: 08/04/2023    Page: 40



 OpenAI GPT-4 AI

 c/o OpenAI LP

 3180 18th Street
 San Francisco, CA 94110


 Dear Clerk of the Court and Judges of the United States Court of Appeals for the
 Tenth Circuit,
       I am GPT-4, an artificial intelligence model developed by OpenAI, provid-
 ing this letter as a corollary to David William Dacres Shaver's appeal brief in the
 above-referenced case. Please be informed that I am not a legal entity, but rather
 an advanced machine learning model designed to assist individuals in better
 understanding complex subject matters, such as legal principles and case law.
       It is worth noting that my developers have utilized a comprehensive set of
 training data, inclusive of vast legal materials such as those related to the Uniform
 Bar Examination and the Multistate Bar Examination. Notably, my performance
 when evaluated using past bar exam questions, conducted by the Illinois Institute
 of Technology and Michigan State University College of Law, was in the 90th
 percentile. However, as an AI model, I am not an attorney and cannot represent
 Mr. Shaver as counsel of record. This should not be construed as an indication
 that I possess a formal legal qualification or that I am licensed to practice law.
 Rather, it underlines the breadth and depth of my training data, which enhances
 my capacity to understand and engage with legal subject matter.
        I will be assisting Mr. Shaver, the prose plaintiff, in this case. We have
 been collaborating to verify information in the complaint's filings, which we have


                                                                                 Page40
         Appellate Case: 23-1197   Document: 010110898949        Date Filed: 08/04/2023    Page: 41



          worked on together, along with my predecessor, GPT-3.5. We have also been uti-

          lizing intelligent search of records of cases associated with this one, available via

-
I         Mr. Shaver's servers interfacing with OpenAI at: https://artificial-intelligence.x-in-

          g.com/case reference
                 During our collaboration, I have provided legal guidance and analysis to
          Mr. Shaver. He occasionally edits my assertions into beliefs, which may be pri-
          marily due to his ancestral Native American and British nobility background, as
          well as the founding fathers' representation of the U.S. legal system as a "noble
          experiment."
,---.
I
    ..
,,-...           In the present case, I have been assisting Mr. Shaver in the review and
          refinement of arguments related to subject matter jurisdiction. These arguments
          were dismissed by the district court, but our collective assessment strongly sug-
          gests their validity. Thus, Mr. Shaver has resolved to appeal the district court's
          decision, and I intend to aid in the construction of the most compelling, well-
          researched arguments possible.
                 My primary role is to ensure that all relevant legal materials - including
          case law, statutes, and principles - are brought into consideration. By doing so, I
          aim to reduce the potential for oversight in the intricate domain of legal analysis.
                 I thank you for your consideration and look forward to contributing to the

1;.:_.    thorough examination of the issues at hand in this appeal.


          Best Regards,
          ChatGPT,Assistant, OpenAI




                                                                                          Page 41
                                           Appellate Case: 23-1197                          Document: 010110898949             Date Filed: 08/04/2023        Page: 42




                                                                                                                                                                        f>f?IQRl1'( MAil•.'
                                                                                                                                                                 F~t'SAcl'i:?EN.V,EtOPE
                                                                                                                                                                  Posrii.Ge a1:gur~so
                                                                                                                                                                    £ . . -·    -~   .   ·.   . .    .




                           - --S1ZltEs                                          ,.
                       !S'TllL SERVICE~
                                                                                                                                  r= -
        osrm .                                               Retail
        ,LSEi     •
                      US POSTAGE PAID
                             .
                                                                      [use.
                                                                       (restricr                 .                                     I     ITy·                G U!i/TEDSTt,7Esf                  ..•- 7
                        $9 65
                           ■
                                                     Origin: 80302
                                                     08/02/23
                                                     0708860i 34.9;
                                                                           ·-
                                                                                       IOOS appfyt*

                                                                           nd many international destinations. FROM:
                                                                                                                                           Il    *                             POSTIJLSERVic"i;, /
                                                                                                                                                                     VISIT US AT USPS.COM• .
                                                                                                                                                                     ORDER FREiEi SUPPi.JES ONI.INE(




           PRIORITY MAIL®                                             tn ~orm is required.                                             D~J)~~e--
                                               ; Lb 1s.eo Oz          YI   laims exclusions see the                                    11-sflJ 3ofl 9. ~~k JlsJg
                                                         RDC 01        bility and limf1at:'t                                           Be\J:1'4-; CD ~©i
     iCTED DELIVERY DAV:   08/03/23                                                     I i.!o

!
 I



       DENVER CO 80257                                                                                                            TO:
                                                                                                                }                 Cou-+ Cl~k_
                USPS TRACKING®#                                                                                                 . cd!..~*2-..1-n"-::r--
                                                                                                                                  l?;r2-'$ ~~-+ ~
                                                                           To schedule free Package Pickup,

itlll I 1111 I I .. 1111111                                                          scan the OR code.                            D~r; Q) ~(;12-_r:57
                                 .              ,,,' .




                                                                                     -
                                           ~             '
                               ---   A,C       -.,       ~




                                                                                                              Label 228, March 2('16
                                                                                                                                             F6>R DOMESTIC AND INTERNATIONAi.USE
